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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

U.S. BANK TRUST NATIONAL                       §
ASSOCIATION, AS TRUSTEE OF THE                 §
TIKI SERIES IV TRUST,                          §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §     Civil Action No. 6:21-cv-678-ADA-JCM
                                               §
LAURA L. KING and KENNETH R.                   §
KING, SR. a/k/a KENNETH R. KING,               §
                                               §
       Defendants.                             §

                      MOTION TO ALLOW CRYSTAL G. GIBSON
                     TO WITHDRAW AS COUNSEL FOR PLAINTIFF

        Plaintiff U.S. Bank Trust National Association, as Trustee of the Tiki Series IV Trust

(“Plaintiff”) file this Motion to Allow Crystal G. Gibson to Withdraw as Counsel for Plaintiff

(“Motion”).

       Ms. Gibson is no longer with the law firm of Barrett Daffin Frappier Turner & Engel,

LLP. Accordingly, Plaintiff seeks leave to allow Ms. Gibson to immediately withdraw as counsel

for the Plaintiff in the above-referenced matter. The Plaintiff will not be prejudiced by Ms.

Gibson’s withdrawal because Shelley L. Hopkins and Robert D. Forster, II will remain as counsel

for the Plaintiff. Granting this Motion will not harm or prejudice the Defendants, nor will

granting this Motion cause undue delay.

       Plaintiff respectfully requests that this Motion be granted, that Ms. Gibson be

immediately withdrawn as counsel of record for Plaintiff, that by Court Order the docket be

amended to reflect that Ms. Gibson has withdrawn as counsel for Plaintiff, and that Ms. Gibson

no longer be noticed of any pleadings, motions, or other documents filed or served in this case.



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Plaintiff respectfully requests that Shelley L. Hopkins and Robert D. Forster, II continue to be

provided with copies of all correspondence, pleadings, or other documents in this case as counsel

for Plaintiff.

                                            Respectfully submitted,

                                            By:     /s/ Shelley L. Hopkins
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                                                    ATTORNEYS FOR PLAINTIFF




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